                  UNITED STATES DISTRICT COURT
               MIDDLE DISTRICT OF NORTH CAROLINA
                   CASE NO. 1:22-cv-00055-CCE-JEP

AHAJI AMOS and KIRK AMOS
DELIVERY AND COURIER, LLC

                       Plaintiff,

               vs.

AMAZON LOGISTICS, INC.,

                     Defendant.




            PLAINTIFFS’ RESPONSE BRIEF
                  TO DEFENDANT’S
           MOTION TO DISMISS AND COMPEL
             ARBITRATION PURSUANT TO
                    RULE 12(B)(3)




    Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 1 of 31
                        TABLE OF CONTENTS


TABLE OF AUTHORITIES.………………………………………………..……………ii

STATEMENT OF NATURE OF MATTER………………………………………………1

STATEMENT OF FACTS………………………………………………………………...2

    The DSP Program as Employment…………………………………………………2
    The Last Mile Delivery Process…………………………………………………….8
    ALI Proffers a Different, Unexecuted Program Agreement………………………..9

ARGUMENT…………………………………………………………………………….11

    Amos was ALI’s Employee……………………………………………………….11
    Amos did not Assent to the Arbitration Clause……………………………………14
    The Arbitration Clause is not Enforceable Under the FAA………………………17
    This Case Involves a “Contract of Employment”…………………………………19
    This Lawsuit is not Subject to Arbitration under Washington’s
          Uniform Arbitration Act…………………………………………………...20

CONCLUSION.………………………………………………………………………….24

WORD COUNT CERTIFICATION.…………………………………………………….25

CERTIFICATE OF SERVICE...…………………………………………………………26




                                   ii



   Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 2 of 31
                            TABLE OF AUTHORITIES

CASES

Bier v. Good Chevrolet, Inc., 200 Wash. App. 1027 (2017)………………………………23

Brooks v. Robert Larson Auto. Grp., Inc., No. C09-5016 FDB,
      2009 WL 2853452 (W.D. Wash. Sept. 1, 2009)…………………………………..23

Burnett v. Pagliacci Pizza, Inc., 196 Wash. 2d 38, 470 P.3d 486 (2020)…………15,16,23

Cox v. Kroger Co., 2 Wash. App. 2d 395, 409 P.3d 1191 (2018)…………………………21

Dep't of Soc. & Health Servs. v. State Pers. Bd.,
       61 Wash. App. 778, 812 P.2d 500 (1991)…………………………………………22

Garrett v. Phillips Mills, Inc., 721 F.2d 979 (4th Cir. 1983)……………………………...12

Gates v. TF Final Mile, LLC, No. 1:16-CV-0341-RWS,
      2020 WL 2026987 (N.D. Ga. Apr. 27, 2020)……………………………………...17

Godfrey v. Hartford Cas. Ins. Co., 142 Wash. 2d 885, 16 P.3d 617 (2001)………........20,23

Granite Rock Co. v. Int'l Bhd. of Teamsters, 561 U.S. 287, 130 S. Ct. 2847,
      177 L. Ed. 2d 567 (2010)………………………………………………………14,15

Greyhound Corp. v. Div. 1384 of Amalgamated Ass'n of St. Elec. Ry.
      & Motor Coach Emps. of Am., 44 Wash. 2d 808, 271 P.2d 689 (1954)…...21,22,24

Hamrick v. Partsfleet, LLC, 1 F.4th 1337 (11th Cir. 2021)…………………………….....19

Harper v. Amazon.com Servs., Inc., 12 F.4th 287 (3d Cir. 2021)………………………..17

Hollingbery v. Dunn, 68 Wash. 2d 75, 411 P.2d 431 (1966)……………………………...12

In re Grice, 974 F.3d 950, 956 (9th Cir. 2020)……...…………………………………….19

Mastrobuono v. Shearson Lehman Hutton, Inc., 514 U.S. 52, 115 S. Ct. 1212,
      131 L. Ed. 2d 76 (1995)…………………………………………………………...23

Mayne v. Monaco Enterprises, Inc., 191 Wash. App. 113, 361 P.3d 264 (2015)………....16



                                          iii



     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 3 of 31
                          TABLE OF AUTHORITIES

CASES (CONT’D)

McFeeley v. Jackson St. Ent., LLC, 825 F.3d 235, 241 (4th Cir. 2016)…………….….11,12

Meier v. Stevens, 17 Wash. App. 2d 1032 (2021)…………………………………………15

Miller v. Amazon.com, Inc., No. 2:21-CV-00204-BJR, 2021 WL 5847232
       (W.D. Wash. Dec. 9, 2021)…………………………………………………..........17

New Prime Inc. v. Oliveira, 139 S. Ct. 532, 202 L.Ed.2d 536 (2019)………………….19,20

Palcko v. Airborne Express, Inc., 372 F.3d 588 (3d Cir. 2004)………………………17,24

R & C Oilfield Servs., LLC v. Am. Wind Transp. Grp., LLC,
      447 F. Supp. 3d 339 (W.D. Pa. 2020)……………………………………………..20

Rimov v. Schultz, 162 Wash. App. 274, 253 P.3d 462 (2011)……………………………..20

Rittmann v. Amazon.com, Inc., 971 F.3d 904 (9th Cir. 2020),
      cert. denied, 141 S. Ct. 1374, 209 L. Ed. 2d 121 (2021)………………1,16,17,18,19

Romero v. Watkins & Shepard Trucking, Inc., 9 F.4th 1097 (9th Cir. 2021)……………...17

Ross v. Subcontracting Concepts, LLC, No. CV 20-12994,
       2021 WL 6072593 (E.D. Mich. Dec. 23, 2021)…………………………………...19

Saleemi v. Doctor's Assocs., Inc., 176 Wash. 2d 368, 292 P.3d 108 (2013)………………14

Smith v. CSRA, 12 F.4th 396 (4th Cir. 2021)……………………………………………...12

Volt Info. Scis., Inc. v. Bd. of Trustees of Leland Stanford Junior Univ.,
       489 U.S. 468, 109 S. Ct. 1248, 103 L. Ed. 2d 488 (1989)………………………….23

Waithaka v. Amazon.com, Inc., 966 F.3d 10 (1st Cir. 2020), cert. denied,
      141 S. Ct. 2794, 210 L. Ed. 2d 928 (2021), reh'g denied,
      141 S. Ct. 2886, 210 L. Ed. 2d 1001 (2021)………………………………….1,17,18

Wallace v. Grubhub Holdings, Inc., 970 F.3d 798 (7th Cir. 2020)………………………..19




                                        iv



     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 4 of 31
                          TABLE OF AUTHORITIES

CASES (CONT’D)

Walsh v. Med. Staffing of Am., LLC, No. 2:18-CV-226,
      2022 WL 141528 (E.D. Va. Jan. 14, 2022)………………………………………..12

Ward v. Express Messenger Sys., Inc., 413 F. Supp. 3d 1079 (D. Colo. 2019)……………17

STATUTES & REGULATIONS

9 U.S.C. § 1…………………………………………………………………..1,17,18,19,23

9 U.S.C. § 2…………………………………………………………………………...22,23

9 U.S.C. § 4…………………………………………………………………………...21,23

29 U.S.C. § 201 et seq…………………………………………………………………….11

RCW Chapter 7.04A……………………………………………………………………..20

RCW § 7.04.010 (repealed)…………………………………………………….21,22,23,24

RCW § 7.04.030 (repealed)…………………………………………………………...21,22

RCW § 7.04A.030(4)………………………………………………………..........1,21,22,23

RCW § 7.04A.070………………………………………………………………………..21

RCW § 41.56.122………………………………………………………………………...22

RCW § 41.59.130………………………………………………………………………...22

RCW § 49.66.090………………………………………………………………………...22




                                        v



     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 5 of 31
                      UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF NORTH CAROLINA
                       CASE NO. 1:22-cv-00055-CCE-JEP

AHAJI AMOS and
KIRK AMOS DELIVERY
AND COURIER, LLC,
                                             PLAINTIFFS’ RESPONSE BRIEF TO
                            Plaintiffs,     DEFENDANT’S MOTION TO DISMISS
                                               AND COMPEL ARBITRATION
                   vs.                         PURSUANT TO RULE 12(B)(3)

AMAZON LOGISTICS, INC.,

                           Defendant.


                     STATEMENT OF NATURE OF MATTER

      This lawsuit is not subject to arbitration. Fundamentally, Plaintiffs did not assent to

the arbitration clause presented by Defendant Amazon Logistics, Inc. (“ALI” or

“Amazon”) in support of its motion. But even if there were a valid arbitration agreement,

it could not be enforced under the Federal Arbitration Act (FAA) because this is a lawsuit

by a former transportation worker engaged in the movement of goods in interstate

commerce. See 9 U.S.C. § 1; Waithaka v. Amazon.com, Inc., 966 F.3d 10, 26 (1st Cir.

2020), cert. denied, 141 S. Ct. 2794, 210 L. Ed. 2d 928 (2021), reh'g denied, 141 S. Ct.

2886, 210 L. Ed. 2d 1001 (2021); Rittmann v. Amazon.com, Inc., 971 F.3d 904, 915–19

(9th Cir. 2020), cert. denied, 141 S. Ct. 1374, 209 L. Ed. 2d 121 (2021). Washington state

law would also not enforce it because employer-employee arbitration agreements are

expressly exempted from the Washington Uniform Arbitration Act (WUAA). See RCW §

7.04A.030(4). ALI’s motion to dismiss or compel arbitration should therefore be denied.

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     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 6 of 31
                               STATEMENT OF FACTS

       E-commerce giant Amazon.com, Inc. and its subsidiaries comprise the world’s

largest retailer, with billions of products ordered online and delivered to American homes

each year. (Comp., ¶ 10). ALI is Amazon’s transportation and logistics subsidiary

responsible nationwide for Amazon’s last mile delivery operations. (Comp., ¶ 11-12).

       ALI runs these operations through its Delivery Service Partner (“DSP”) program.

(Id., ¶ 12-13). Ahaji Amos, a DSP from 2019 to 2021, has sued ALI for abusive conduct

committed during their relationship. ALI has moved to dismiss or compel arbitration.

(ECF No. 13).

       Amos has submitted a Declaration affirming that the facts alleged in the Complaint

and additional facts relevant to this brief are true and correct based on her personal

knowledge. (ECF No. 16-1 – “Amos Declaration”).

                           The DSP Program as Employment

       Plaintiffs allege that the DSP program constituted employment.

       ALI marketed the DSP program only to individuals, and expressly rejected all

applications from groups or companies. (Comp., ¶ 14-15). The DSP selection process was

the same as being interviewed and screened for a traditional job. (Comp., ¶ 16). ALI

considered only the applicant’s own experience and qualifications. (Id.) The interview

process was one-sided, with the candidate only learning specific details about the job after

ALI made an offer. (Comp., ¶ 16). A candidate needed minimal financial resources and

no prior logistics experience, as ALI would supply all training. (Comp., ¶ 14, 22, 48, 59-



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     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 7 of 31
60, 102). Though requiring candidates to pay a $10,000.00 DSP program entry fee, ALI

did not treat the relationship as subject to state franchise laws. (Comp., ¶ 14, 26, 246-279).

       Although the DSP program was open only to individual candidates, ALI required

everyone accepted into it to create a new business entity and enter the DSP program only

via the entity. (Comp., ¶ 13-23). ALI restricted the types of entities the DSP could choose

and required the entity’s name meet its approval. (Comp., ¶ 17-18). ALI walked-through

prospective DSPs how to form the required entity step-by-step. (Comp., ¶ 17-18). ALI

ensured that inexperienced persons could form the required entity with minimal effort: it

offered them a do-it-yourself business entity formation package deal through LegalZoom.

(Comp., ¶ 19). Before providing prospective DSPs the signing instructions for the DSP

Program Agreement, ALI verified that they had formed the required entity. (Comp., ¶ 21-

22). This ensured that DSPs would only execute the DSP Program Agreement through the

required business entity rather than individually. 1 (Comp., ¶ 21-22).

       Plaintiffs allege that ALI created the DSP program so that it could treat its DSPs

and drivers as employees subject to its complete financial and operational control while

improperly classifying them as independent contractors. (Comp., ¶ 13, 22, 123-126).

Plaintiffs allege that ALI’s purpose in requiring each DSP to use a business entity was to

provide covering optics – to create a false appearance of independence and substance

whenever courts scrutinized the arrangement. (Id.).



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 As required by ALI, Amos formed Kirk Amos Delivery and Courier LLC, a single-
member limited liability company with Amos as its sole member and manager, before
executing the Program Agreement. (Comp., ¶ 25).
                                              3



     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 8 of 31
       At the same time, ALI instituted various ownership and other restrictions on its

DSPs. (Comp., ¶ 23). DSPs could not consolidate, expand, or have common ownership

or financing, for example. (Comp., ¶ 22-23). ALI did this so its DSPs would remain

fragmented and wholly dependent on it. (Comp., ¶ 13, 21-22, 123-126).

       ALI instituted the above structuring intending DSPs to serve as a legal firewall

between it and its drivers and operations. (Id.). If the structuring succeeded, ALI would

then get the benefits of a directly-controlled workforce and van fleet but without the

attendant employer-employee and operational liabilities. (Comp., ¶ 13). In turn, DSPs

would bear all costs and risks but without any offsetting hope of succeeding in a genuine

business venture. (Id.).

       As a DSP, ALI tasked Amos to hire drivers and lease Amazon-branded vans to

deliver Amazon packages from ALI’s DRT1 station in Durham, North Carolina. (Comp.,

¶ 28-29, 81). Amos did not deliver packages for anyone other than ALI, and she was

economically tied exclusively to ALI for all DSP business operations. (Comp., ¶ 45, 94).

Amos worked for ALI as a DSP continually from mid-2019 to April 2021, when ALI

terminated the relationship. (Comp., ¶ 29).

       ALI exerted total oversight and control over Amos and her drivers.

       ALI unilaterally set the Program Policies that governed all material terms of Amos’

and her drivers’ work. (Comp., ¶ 31-43, 46, 55-63, 75, 167). These policies set forth the

detailed requirements, parameters, and guidance for their daily operations. (Id.). ALI

mandated that Amos follow them day-to-day and closely monitored her compliance. (Id.).

The Program Policies also set the financial metrics and rules that determined payments and

                                              4



     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 9 of 31
reimbursements to DSPs. (Id.). ALI frequently changed the Program Policies at-will to

benefit itself and applied the changes retroactively. (Id.). ALI used its control over the

Program Policies to make it impossible for Amos and other DSPs to meet its oft-changing

requirements without losing money. (Comp., ¶ 32-44, 55-63).

         ALI controlled Amos’ hiring of drivers. (Comp. ¶ 72-74). ALI had to pre-approve

all hires, and it routinely overrode and rejected employment offers made by Amos.

(Comp., ¶ 72). Amos was not free to make her own hiring decisions and was subject to

termination if she tried. (Id.). ALI required Amos to run background checks on prospective

hires using companies it selected. (Comp., ¶ 73). ALI would then review the results before

accepting or rejecting each candidate. (Comp., ¶ 73). ALI also determined the content of

Amos’ employment applications, offers of employment, and employee handbook. (Comp.,

¶ 74).

         ALI controlled Amos’ management of her drivers.          (Comp., ¶ 75-80).      ALI

determined the number of drivers Amos employed at any given time, requiring her to hire

or layoff drivers at its sole discretion. (Comp., ¶ 79). ALI directly supervised and evaluated

her drivers’ performance, and decided whether to discipline, retrain, or terminate them.

(Comp., ¶ 75). ALI often disciplined Amos’ drivers arbitrarily. (Comp., ¶ 152). ALI did

not allow Amos to appeal or challenge its disciplinary decisions involving her drivers.

(Comp., ¶ 76-77). ALI inspected her drivers each day, and pulled her drivers off routes for

minor matters such as not wearing a complete uniform, wearing an unbranded hat, or

having a small rust stain on the delivery van. (Comp., ¶ 47, 78). ALI directed her drivers’

training. (Comp., ¶ 48, 76).

                                              5



     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 10 of 31
       ALI controlled Amos’ compensation of her drivers. ALI set their payrates and used

Amos as a pass-through for direct payments to them. (Comp., ¶ 94-95, 104). ALI paid for

her drivers’ fuel charges directly by issuing them Amazon debit gas cards to purchase

gasoline. (Comp., ¶ 93). ALI required Amos to use a selected payroll services provider

and had full access to Amos’ payroll and private employee records. (Comp., ¶ 91-92). ALI

routinely accessed and made changes to Amos’ payroll without her permission and without

notice. (Id.). In contrast, the payroll provider refused to make changes to Amos’ payroll

without ALI’s prior approval. (Id.). ALI required Amos to provide her drivers health

insurance and threatened breach of contract when she provided them health insurance not

purchased through Amazon. (Comp., ¶ 117, 191).

       ALI micromanaged Amos’ drivers’ minute-by-minute activities.              ALI did so

through direct contact, telemetrics, a proprietary smartphone app called “Amazon Flex,”

and real-time monitoring. (Comp., ¶ 49, 51, 54, 101). ALI electronically tracked all time

worked by Amos and her co-employees to the second. (Comp., ¶ 108). ALI used

proprietary systems to track and monitor each driver’s job performance in real time,

including delivery rate, delivery speed, delivery accuracy, driver distractions, seatbelt use,

driving speed and acceleration, and adherence to ALI’s delivery schedule. (Comp., ¶ 54).

ALI sent an email documenting each delivery driver’s job performance to Amos every day.

(Id.). ALI unilaterally evaluated and ranked drivers based on the monitored performance

and set Amos’ pay based on it. (Comp., ¶ 55-65).

       ALI made direct contact with Amos’ drivers despite her requests not to do so, often

directing them to re-attempt redelivery, to continue or stop delivering, or to help other

                                              6



     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 11 of 31
DSPs’ drivers deliver Amazon packages. (Comp., ¶ 71, 113-114). ALI often contacted

Amos’ drivers directly to tell them to skip meal breaks or work overtime. (Comp., ¶ 114,

118-120). If a driver stopped for more than five minutes, the tracking system would send

an alert. (Comp., ¶ 71). A DRT1 ALI employee would then contact Amos and the driver

and would directly order the driver to keep moving. (Id.). ALI sometimes recalled Amos’

drivers mid-shift. (Comp., ¶ 70). ALI routinely threatened Amos’ drivers with suspension

or termination if they did not go back out to attempt redelivery of all dispatched packages,

even if the driver had already worked longer than his shift. (Comp., ¶ 68).

       ALI controlled Amos’ management of her van fleet. ALI required Amos to lease

vans branded with Amazon trademarks exclusively from a company it selected and

controlled. (Comp., ¶ 81-90, 192, 194). ALI solely determined the number, timing, and

types of vans provided to Amos. (Id.). As a result, Amos sometimes received surprise van

deliveries. (Comp., ¶ 81). ALI had to approve any increases or decreases to Amos’

delivery van fleet and did not give Amos the freedom to decide for herself. (Id.). ALI also

set and monitored maintenance standards for Amos’ vans in real-time and determined if

Amos could deliver using them. (Comp., ¶ 101). Amos could not set her own vehicle

repair timelines. (Comp., ¶ 41).

       ALI controlled Amos’ delivery routes. Every week, ALI sent Amos the number,

type, and start time for the delivery routes. (Comp., ¶ 52). ALI set the routes without

considering difficulty factors like business closures and traffic. (Comp., ¶ 66-67). ALI did

not allow Amos to alter the routes. (Comp., ¶ 66). Amazon informed Amos’ drivers



                                             7



     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 12 of 31
directly of their assigned route and monitored compliance using proprietary “Amazon

Flex” software. (Comp., ¶ 52-54).

       ALI controlled Amos’ business operations and arrangements. Amos could not share

drivers with other DSPs. (Comp., ¶ 80). Amos could not choose her own vendors or

service providers. (Comp., ¶ 91). Amos could not enter common ownership or financing

arrangements with other DSPs or with third parties having an interest in another DSP.

(Comp., ¶ 23). Amos could not marry another DSP. (Comp., ¶ 23). Amos could not

convert her business to a general, limited, or limited liability partnership. (Comp., ¶ 17).

Amos was subject to intrusive financial monitoring by ALI. (Comp., ¶ 149-150). ALI did

not expect or allow Amos or other DSPs to rely on their own business acumen, experience,

or decision-making. (Comp., ¶ 14, 59, 102-103).

       ALI demanded that Amos devote every moment of her life to it. Amos was on call

at all hours of the day and night, 365 days per year, and often received over 100

communications and directions from Amazon daily. (Comp., ¶ 110). Amos personally

worked more than sixty hours per week for ALI, similar to the hours worked for ALI by

other DSPs. (Comp., 110-111). Amazon continually called Amos on her cell phone, on

average about every 15 minutes between 5:45 am until about 10:30 pm. (Comp., ¶ 137).

ALI did not even give Amos a reprieve from its constant calls and messages while she had

emergency surgery for a miscarriage. (Comp., ¶ 136).

                            The Last Mile Delivery Process

       The last mile delivery process worked as follows. DRT1 was Amazon’s delivery

station for the Durham area. (Comp., ¶ 29). Multiple DSPs worked out of DRT1, including

                                             8



     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 13 of 31
Amos. (Comp., ¶ 126, 152). ALI oversaw DRT1 operations and managed the DSPs and

their drivers. (Comp., ¶ 71, 100, 103, 119, 126, 133, 146, 149, 159, 160). Amazon

standardized and centrally controlled and directed the delivery process there and at its other

delivery stations. (Comp., ¶ 50).

       Durham-based Amazon.com Prime customers shopped on Amazon.com’s online

portal and ordered goods from Amazon for home delivery. (Comp., ¶ 11). The DRT1

station received the ordered goods as packages and ALI employees pre-sorted them there

to prepare them for delivery. (Comp., ¶ 53). Amazon determined all aspects of the delivery

routes and assigned them to the DRT1 DSPs’ drivers using Amazon Flex. (Comp., ¶ 52-

53). Amos’ drivers logged into Amazon Flex to access their assigned route and picked up

the assigned packages from DRT1. (Comp., ¶ 53). They then delivered the packages, in

Amazon uniforms and in Amazon-branded vans, to homes in the same condition as they

were received at the Amazon DRT1 delivery station. (Comp., ¶ 47, 53). These packages

were not transformed or modified during the shipping process. (Comp., ¶ 53).

       ALI provided operational training to Amos over a three-week period and required

that she be trained as an Amazon delivery driver. (Amos Declaration, ¶ 7). In addition to

hiring, supervising, and scheduling drivers and maintaining Amazon-branded delivery

vehicles as a DSP, Amos personally drove ALI routes as a delivery driver and delivered

Amazon packages herself. (Id.; Comp., ¶ 110).

              ALI Proffers a Different, Unexecuted Program Agreement

       Plaintiffs executed the Program Agreement on May 7, 2019 via a DSP onboarding

portal. (Comp., ¶ 27; ECF No. 15, p.2, ¶ 5; Amos Declaration, ¶ 5). ALI restricted Amos

                                              9



     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 14 of 31
from downloading the May 7, 2019 Program Agreement from its portal and made it

impossible to review or execute it outside the portal.           (Amos Declaration, ¶ 5).

Consequently, she does not have a copy. (Id.).

       ALI has presented a different document in support of its motion, an unsigned copy

of a Program Agreement dated February 6, 2020, which Plaintiffs did not execute. (ECF

No. 15, p. 4-11; Amos Declaration 6). ALI does not contend Plaintiffs executed it. (See

ECF No. 15, p. 1-2, ¶ 3, 5).

       The February 2020 Program Agreement contains undisclosed “revisions” compared

to the May 2019 version Plaintiffs executed. (ECF No. 15, p.2, ¶ 5).

       The February 2020 Program Agreement claims it becomes effective simply upon

being read, e.g. “click[ed] through.” (ECF No. 15, p. 5).

       The February 2020 Program Agreement states that ALI may modify it at any time

by posting a revised version in an online portal. (ECF No. 15, p. 10, ¶ 14). It further states

that the DSP is responsible for discovering any such modifications and that the DSP’s

continued performance after modification binds the DSP to the new agreement. (Id.). The

February 2020 Program Agreement also states that if the DSP does not agree to the

modifications, it must stop performing services. (Id.).

       The February 2020 Program Agreement “is governed by the United States Federal

Arbitration Act, applicable United States federal law, and Washington state law, without

reference to any applicable conflict of laws rules.” (ECF No. 15, p. 9, ¶ 13).

       The February 2020 Program Agreement contains an arbitration clause. (Id.).



                                             10



     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 15 of 31
         ALI does not show the Court what the May 2019 Program Agreement said or

contained with respect to any of the above terms.

                                         ARGUMENT

                                  Amos was ALI’s Employee

         As an initial matter relevant to what follows, Amos was ALI’s employee.

         In a Fair Labor Standards Act (FLSA) context, 29 U.S.C. § 201 et seq., courts

distinguish between an employer-employee versus an independent contractor relationship

based on the underlying economic realities, not titles: “whether the worker is economically

dependent on the business to which he renders service or is, as a matter of economic reality,

in business for himself.” McFeeley v. Jackson St. Ent., LLC, 825 F.3d 235, 241 (4th Cir.

2016)(quoting Schultz v. Cap. Int'l Sec., Inc., 466 F.3d 298, 304 (4th Cir. 2006)(internal

citations omitted and cleaned up). The economic realities test examines six factors:

      (1) The degree of control that the putative employer has over the manner in
          which the work is performed;

      (2) the worker's opportunities for profit or loss dependent on his managerial skill;

      (3) the worker's investment in equipment or material, or his employment of other
          workers;

      (4) the degree of skill required for the work;

      (5) the permanence of the working relationship; and

      (6) the degree to which the services rendered are an integral part of the putative
          employer's business.

Id.




                                                11



       Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 16 of 31
       More broadly, state common law and other federal claims emphasize right of control

as the most important distinguishing factor. See Garrett v. Phillips Mills, Inc., 721 F.2d

979, 982 (4th Cir. 1983); Smith v. CSRA, 12 F.4th 396, 413 (4th Cir. 2021); Hollingbery v.

Dunn, 68 Wash. 2d 75, 79–81, 411 P.2d 431, 435–36 (1966). Courts examining the issue

in an FLSA context also recognize control as a key factor. See Walsh v. Med. Staffing of

Am., LLC, No. 2:18-CV-226, 2022 WL 141528, at *9 (E.D. Va. Jan. 14, 2022); McFeeley,

825 F.3d at 241-243.

       Here, the factors strongly indicate employment.

       First, ALI exerted complete oversight and control over Plaintiffs. ALI made all

business, operational, and financial decisions and deprived Amos of autonomy over basic

matters. Amos could not, for example, independently determine the size of her workforce,

their compensation and benefits, or whether to hire, fire, train, or discipline her drivers.

She could not determine the size or composition of her van fleet. She could not choose her

own leasing or van procurement arrangements. She could not freely choose her vendors.

She could not determine schedules, routes, or other operational details. She could not set

or enforce her own vehicle maintenance standards or repair schedules, her own

employment policies, or even her own employee dress code.

       ALI monitored and controlled Amos’ drivers in real-time and consistently overrode

her ostensible authority by directly supervising and disciplining drivers that reported to

her. Her drivers could not even take a five-minute break without ALI’s direct intervention.

Tellingly, ALI directed Amos’ drivers to perform acts that were beneficial to it but not



                                            12



     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 17 of 31
Amos, such as working overtime uncompensated by ALI and assisting other DSPs in

delivering packages.

       ALI demanded all of Amos’ time and attention. Amos worked 60-hour weeks for

ALI and was always on call. ALI’s demands were extreme: it contacted Amos constantly

and gave her no respite even for a miscarriage requiring surgery.

       In short, ALI exercised a near-absolute degree of control over Amos.

       The second factor, Amos’ opportunities for profit or loss dependent on her

managerial skill, also supports employee status. ALI expected her to have no prior logistics

experience and supervised and managed her directly.          ALI also deprived Amos of

managerial discretion and used its control over the DSP program to eliminate profit-making

opportunity. Amos’ managerial skills mattered little because ALI constrained her from

exercising them.

       The third factor, Amos’ investment in equipment or material, or her employment of

other workers, also supports employee status. ALI required her and other DSPs to have

minimal financial resources and did not allow them to freely make their own investment or

employment decisions. ALI determined the size and composition of Amos’ workforce,

who she employed, what she paid them, and whether she kept them, fired them, or laid

them off. ALI determined all aspects of how, when, and where she got her vans, the

financing arrangements, how many vans she had, their maintenance and repairs, and

everything else. ALI supplied the delivery station, its workers, its managers, and the

packages.



                                            13



     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 18 of 31
       The fourth factor, the degree of skill required for the work, favors employment. ALI

made the DSP program accessible to those willing to do the work. It spoon-fed the business

entity creation step so that anyone could do it and provided ongoing training, management,

and monitoring of its DSPs. It treated Amos and other DSPs as mid-level workers and

expected them to perform human resources, maintenance, and even delivery driver tasks.

None of what ALI allowed Amos to do required or took advantage of her high-level

entrepreneurial skill set.

       The fifth factor, the permanence of the working relationship, supports employment.

Amos worked for ALI exclusively and continually for nearly two years as a DSP.

       Finally, the sixth factor, the degree to which the services rendered are an integral

part of ALI’s business, favors employee status. Amazon’s entire business model depends

on Amos and the other DSPs to provide the last mile delivery services from its delivery

stations so that its consumers will quickly get the products they ordered. If the DSPs ceased

work, Amazon would instantly be paralyzed because they do not otherwise employ

delivery drivers. Tellingly, after cancelling two DSPs’ contracts at DRT1, ALI divided up

their drivers among the remaining DSPs – something it could not have done if the DSPs

were not integrated into ALI’s business.

       In conclusion, Amos was ALI’s employee, not an independent contractor.

                     Amos did not Assent to the Arbitration Clause

       Under both the FAA and Washington law, the Court determines whether an

arbitration clause is valid and enforceable. Saleemi v. Doctor's Assocs., Inc., 176 Wash.

2d 368, 376, 292 P.3d 108, 112 (2013); Granite Rock Co. v. Int'l Bhd. of Teamsters, 561

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     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 19 of 31
U.S. 287, 296–97, 130 S. Ct. 2847, 2855–56, 177 L. Ed. 2d 567 (2010). General state

contract law principles drive the determination. Id.

       Assuming arguendo that Washington substantive law applies, 2 the February 2020

Program Agreement is not a valid and enforceable contract. As such, ALI cannot enforce

the arbitration clause contained in it.

       The formation of a valid contract requires mutual assent. See Burnett v. Pagliacci

Pizza, Inc., 196 Wash. 2d 38, 48, 470 P.3d 486, 491 (2020). In an employment context, an

employee provided with a document containing an arbitration clause is not bound simply

by receiving it. Id. at 51-53; Meier v. Stevens, 17 Wash. App. 2d 1032 (2021). Nor is the

employee bound by continuing to perform work for the employer, as ALI asserts. Burnett,

196 Wash. 2d at 51-53.

       Similarly, an agreement that allows one party to unilaterally modify the arbitration

agreement is unenforceable as illusory. See id. at 53 n.4 (collecting cases but not reaching

issue); Meier, 17 Wash. App. 2d 1032 at *3.

       Here, ALI has presented a February 2020 Program Agreement, a different document

than the May 2019 Program Agreement Amos executed. The February 2020 Program

Agreement claims a unilateral right for ALI to modify it at any time and claims that DSPs

are responsible for discovering these modifications.        The February 2020 Program

Agreement also claims that DSPs are bound by it by continuing to perform work.



2
 ALI contends, based on the choice of law clause in the February 2020 Program
Agreement, that Washington substantive law applies. Plaintiffs dispute that the February
2020 Program Agreement controls.
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     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 20 of 31
       The February 2020 Program Agreement is not enforceable under Burnett. Nor is it

enforceable because it is illusory.

       While the February 2020 Program Agreement is unenforceable for the above

reasons, it also fails for unconscionability. There are two types of unconscionability:

procedural and substantive. See Burnett, 196 Wash. 2d at 54. Only one need be shown to

invalidate an agreement. Id.

       An agreement is procedurally unconscionable when a party with unequal bargaining

power lacks a meaningful choice. Id. at 54. A choice compelled by the threat of immediate

termination from employment is not a meaningful choice. Mayne v. Monaco Enterprises,

Inc., 191 Wash. App. 113, 123, 361 P.3d 264, 269 (2015).

       Here, Amos had no bargaining power. Nor was there meaningful choice: ALI

unilaterally modified the Program Agreement as it desired, and claimed the modifications

were automatically effective and binding on its DSPs. The changes may have been

material, such as would be the case if ALI fixed the drafting flaw that resulted in an

arbitration clause failing. See Rittmann, 971 F.3d at 920. ALI also put the onus on its

counterparties to discover that it was modifying the agreement and to find it in a portal.

Even had she been aware of the changes and disapproved of them, Amos faced immediate

loss of her livelihood if she did not accept them. In consequence, the February 2020

Program Agreement, and the arbitration clause it contains, fails as procedurally

unconscionable.

       In sum, the arbitration clause presented by ALI is not valid and enforceable as a

matter of contract law.

                                           16



     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 21 of 31
       Even if it were a valid contract, though, it would not be enforceable under either the

FAA or Washington substantive law.

              This Arbitration Clause is not Enforceable Under the FAA

       The FAA does not apply to “contracts of employment of seamen, railroad

employees, or any other class of workers engaged in foreign or interstate commerce.” 9

U.S.C. § 1 (emphasis added). The courts that have interpreted this provision in lawsuits

brought by Amazon’s last mile delivery providers have consistently held that they are

transportation workers engaged in interstate commerce and therefore exempt from the

FAA. 3 See Rittmann, 971 F.3d 904 at 919; Waithaka, 966 F.3d at 26; Miller v.

Amazon.com, Inc., No. 2:21-CV-00204-BJR, 2021 WL 5847232, at *5 (W.D. Wash. Dec.

9, 2021). Though these delivery providers do not typically cross state lines to make

deliveries but rather stay in-state, their integral role in delivering goods still in flow from

out-of-state makes them “engaged in interstate commerce” for § 1 purposes. Id. Many

courts examining in-state delivery services performed for companies other than Amazon

engaged in transporting and delivering goods interstate have found similarly. See Ward

v. Express Messenger Sys., Inc., 413 F. Supp. 3d 1079, 1086–87 (D. Colo. 2019); Gates

v. TF Final Mile, LLC, No. 1:16-CV-0341-RWS, 2020 WL 2026987, at *4–5 (N.D. Ga.

Apr. 27, 2020); Palcko v. Airborne Express, Inc., 372 F.3d 588, 590, 593 (3d Cir. 2004);

Romero v. Watkins & Shepard Trucking, Inc., 9 F.4th 1097, 1100 (9th Cir. 2021).



3
 One court did not reach the issue. See Harper v. Amazon.com Servs., Inc., 12 F.4th 287,
296–97 (3d Cir. 2021).

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     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 22 of 31
       Amazon’s last mile delivery drivers are engaged in interstate commerce because

they “haul goods on the final legs of interstate journeys” as a seamless, integral part of

Amazon’s interstate transportation operations. See Rittmann, 971 F.3d at 915; Waithaka,

966 F.3d at 26. These operations start when its customers order goods online for home

delivery. These goods are shipped nationwide in packages to Amazon delivery stations

like DRT1, where Amazon directs their final delivery using DSPs like Amos. As noted by

the 9th Circuit:

       The packages are not held at warehouses for later sales to local retailers; they
       are simply part of a process by which a delivery provider transfers the
       packages to a different vehicle for the last mile of the packages’ interstate
       journeys. The interstate transactions between Amazon and the customer do
       not conclude until the packages reach their intended destinations[.]

Rittmann, 971 F.3d at 916. Because Amazon’s last mile delivery drivers “complete the

delivery of goods that Amazon ships across state lines. . . [they] form a part of the channels

of interstate commerce[.]” Id. at 917.

       In arguing that § 1 does not apply here, ALI ignores Rittmann and Waithaka.

Instead, it cites inapplicable cases like those involving rideshare and takeout food delivery

drivers. (ECF No. 14, p. 16-17).

       The 9th Circuit explained why Amazon last mile delivery drivers are covered by the

§ 1 exemption but rideshare and food delivery drivers are not:

       In each case, the critical factor was not the nature of the item transported in
       interstate commerce (person or good) or whether the plaintiffs themselves
       crossed state lines, but rather “[t]he nature of the business for which a class
       of workers perform[ed] their activities.”




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     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 23 of 31
In re Grice, 974 F.3d 950, 956 (9th Cir. 2020)(quoting Waithaka, 966 F.3d at 10). The key

determinant is “the worker’s active engagement in the enterprise of moving goods across

interstate lines,” Wallace v. Grubhub Holdings, Inc., 970 F.3d 798, 802 (7th Cir. 2020), a

showing met by Amazon’s in-state delivery drivers but not by rideshare drivers or drivers

making intrastate deliveries for local merchants not engaged in interstate goods transport

businesses. See Rittmann, 971 F.3d at 916-17; Grice, 974 F.3d at 956; see also Ross v.

Subcontracting Concepts, LLC, No. CV 20-12994, 2021 WL 6072593, at *8 (E.D. Mich.

Dec. 23, 2021)(distinguishing businesses like Amazon from those “where items have

already made their interstate journey and then are purchased by consumers from a local

retailer”); Hamrick v. Partsfleet, LLC, 1 F.4th 1337, 1350–51 (11th Cir. 2021)(rejecting

argument that delivering goods that had traveled interstate was sufficient for § 1

exemption). Critically, Amazon’s business centers on the delivery of goods ordered and

shipped interstate directly to consumers’ homes, and its DSPs and their drivers perform

their work as integral to that process.

       Here, Amos personally drove routes as an Amazon delivery driver and delivered

Amazon packages. The Court should adopt the reasoning of the other cases that have

considered this issue and find the § 1 exemption applicable to Amos as a transportation

worker engaged in interstate commerce.

                    This Case Involves a “Contract of Employment”

       The U.S. Supreme Court has held that employer-employee versus independent

contractor status does not determine whether a transportation worker has a “contract of

employment” for § 1 purposes. New Prime Inc. v. Oliveira, 139 S. Ct. 532, 539–41, 202

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     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 24 of 31
L.Ed.2d 536 (2019). However, while New Prime did not find an employer-employee

relationship necessary for a “contract of employment,” it is clearly sufficient. See id.

       A worker’s claims invoking the FLSA for non-payment of wages necessarily entail

a “contract of employment.” See R & C Oilfield Servs., LLC v. Am. Wind Transp. Grp.,

LLC, 447 F. Supp. 3d 339, 347 (W.D. Pa. 2020). ALI mischaracterizes Amos’ allegations

in this regard. (ECF No. 14, p. 15-16). Amos alleges she was ALI’s employee and that

ALI owes her unpaid wages under the FLSA. Amos also alleges that ALI required her to

create a business entity so that ALI could use it to improperly misclassify her as an

independent contractor.

       In contrast, R & C Oilfield was a purely commercial dispute having no connection

to employment or employment-related claims. See id. at 344. It has no bearing on the

situation here.

                       This Lawsuit is not Subject to Arbitration under
                           Washington’s Uniform Arbitration Act

       As discussed above, the FAA does not apply. The following analysis assumes

arguendo that Washington substantive law should then be considered.

       Arbitration in Washington is statutory and controlled by the Washington Uniform

Arbitration Act (WUAA). See Rimov v. Schultz, 162 Wash. App. 274, 279, 253 P.3d 462,

465 (2011); Chapter 7.04A, Revised Code of Washington. Washington does not recognize

or permit common law arbitration. Godfrey v. Hartford Cas. Ins. Co., 142 Wash. 2d 885,

893, 16 P.3d 617, 621 (2001). Rather, all rights to arbitration are governed and controlled

by statute. Id.


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     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 25 of 31
       RCW § 7.04A.030(4) exempts employer-employee arbitration agreements from the

WUAA. It states expressly: “[t]his chapter does not apply to any arbitration agreement

between employers and employees or between employers and associations of employees.”

See Cox v. Kroger Co., 2 Wash. App. 2d 395, 403 n.14, 409 P.3d 1191, 1196 n.14 (2018).

       RCW § 7.04A.070 is the WUAA’s enforcement statute. That statute empowers a

court to order the parties to arbitrate and stay the case if it finds an enforceable agreement

to arbitrate. It is the analogue to the FAA’s 9 U.S.C. § 4.

       This case involves an employer-employee arbitration agreement. As such, the

WUAA, and particularly its enforcement mechanisms in RCW § 7.04A.070, does not

apply. Therefore, the Court may not stay the case and order arbitration under Washington

substantive law. See Greyhound Corp. v. Div. 1384 of Amalgamated Ass'n of St. Elec. Ry.

& Motor Coach Emps. of Am., 44 Wash. 2d 808, 814–15, 271 P.2d 689, 693 (1954).

       Greyhound illustrates this outcome. The case involved an arbitration agreement

between an employer and an association of employees and interpreted earlier versions of

current RCW § 7.04A.030(4) and RCW § 7.04A.070, the now-repealed RCW § 7.04.010

and RCW § 7.04.030.

       RCW § 7.04.030, like RCW § 7.04A.070, empowered a court to stay the case and

order arbitration upon motion by a party to an arbitration agreement. RCW § 7.04.010 had

important extra language compared to current RCW § 7.04A.030(4):

       The provisions of this chapter shall not apply to any arbitration agreement
       between employers and employees or between employers and associations
       of employees, and as to any such agreement the parties thereto may provide
       for any method and procedure for the settlement of existing or future disputes
       and controversies, and such procedure shall be valid, enforceable and

                                             21



     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 26 of 31
       irrevocable save upon such grounds as exist in law or equity for the
       revocation of any agreement.

(Emphasis added). This highlighted language, echoing 9 U.S.C. § 2, was repealed in 2006

when RCW § 7.04A.030(4) was enacted in its place.

       Under RCW § 7.04.010, the parties in Greyhound could have provided that the

statutory enforcement mechanisms of RCW § 7.04.030 applied. See 44 Wash. 2d at 812-

15. They could have done so by expressly writing those terms into the agreement. See id.

They did not, however. Id. Nor did they specify any other enforcement mechanism for

their arbitration agreement, under the now-repealed language that made such alternate

procedures enforceable by a court. See id. The result was that the court lacked the power

to stay the case and order arbitration. Id. at 814-815. Instead, the case proceeded in court.

Id.; see also Dep't of Soc. & Health Servs. v. State Pers. Bd., 61 Wash. App. 778, 784 n.4,

812 P.2d 500, 504 n.4 (1991)(noting that Greyhound held that the statutory procedure for

obtaining a stay of arbitration was not available because the arbitration clause “neither

contained such a procedure nor made the statutory procedure expressly applicable”).

       The situation is starker here. RCW § 7.04A.030(4) omits the previous language

that employer-employee arbitration clauses may provide enforcement mechanisms that the

courts will administer. Instead, it excludes employer-employee arbitration agreements

from the WUAA entirely.          Therefore, Washington substantive law provides no

enforcement mechanism for employer-employee arbitration clauses. 4


4
 Other than in irrelevant contexts, like public employee, educational employee, or
healthcare employee collective bargaining agreements. See RCW § 41.56.122; RCW §
41.59.130, RCW § 49.66.090.
                                             22



     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 27 of 31
       That said, most employer-employee arbitration agreements are covered by the FAA.

See 9 U.S.C. § 2. Such arbitration agreements may expressly select the WUAA or former

RCW § 7.04.010 as the governing law. 5 See Bier v. Good Chevrolet, Inc., 200 Wash. App.

1027 (2017); Brooks v. Robert Larson Auto. Grp., Inc., No. C09-5016 FDB, 2009 WL

2853452, at *2 (W.D. Wash. Sept. 1, 2009); Burnett v. Pagliacci Pizza, Inc., 196 Wash. 2d

38, 47 n.1, 470 P.3d 486, 491 n.1 (2020). In such cases where an arbitration agreement

subject to the FAA chooses to be governed under state arbitration law, the FAA remains

waiting in the wings to enforce it if state law falters. See Volt Info. Scis., Inc. v. Bd. of

Trustees of Leland Stanford Junior Univ., 489 U.S. 468, 477–79, 109 S. Ct. 1248, 1255–

56, 103 L. Ed. 2d 488 (1989); Mastrobuono v. Shearson Lehman Hutton, Inc., 514 U.S.

52, 62–64, 115 S. Ct. 1212, 1218–19, 131 L. Ed. 2d 76 (1995); 9 U.S.C. § 4.

       Implicit though unsaid in these cases is that the FAA has latent power to enforce an

employee-employer arbitration agreement that has chosen the WUAA procedures. See 9

U.S.C. § 4. For this reason, they do not support that a court applying Washington

substantive law under RCW § 7.04A.030(4) would enforce an employer-employee

arbitration agreement whenever 9 U.S.C. § 1 excludes the FAA, even if the agreement

expressly selects the WUAA. In such situations where the FAA cannot act, the parties

cannot contractually expand the WUAA to cover their statutorily-excluded arbitration

agreement. See Godfrey, 142 Wash. 2d at 893. Indeed, common law arbitration does not




5
 The arbitration clause presented by ALI does not expressly select the WUAA or its
statutory framework as governing law.
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     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 28 of 31
exist, see id., while the old common law rule was that an arbitration agreement cannot

divest the court of jurisdiction. See Greyhound, 44 Wash. 2d at 811.

       Finally, Palcko v. Airborne Express does not support that the arbitration clause here

is enforceable under current Washington substantive law. (See ECF No. 14, p. 18, citing

Palcko, 372 F.3d at 596). Critically, Palcko was decided in 2004, when RCW § 7.04.010

permitted enforcement of employee-employer arbitration agreements if the agreement

specified the enforcement procedures. In addition, the court only considered whether FAA

exemption suppressed Washington state law via preemption, not whether Washington

substantive law would enforce the arbitration agreement otherwise. See Palcko, 372 F.3d

at 595–96. Instead, it remanded the case to the district court to decide that issue. See id.

                                     CONCLUSION

       For the above reasons, ALI’s motion to dismiss or compel arbitration should be

denied.

       This is the 14th day of April, 2022.

                                                   /s/ Danielle Barbour Wilson
                                                   Danielle Barbour Wilson
                                                   NC State Bar No. 39516
                                                   dwilson@bankslawfirm.com
                                                   Jesse H. Rigsby, IV
                                                   NC State Bar No. 35538
                                                   jrigsby@bankslawfirm.com
                                                   The Banks Law Firm, P.A.
                                                   P.O. Box 14350
                                                   Research Triangle Park, NC 27709
                                                   Phone: (919) 474-9137
                                                   Fax: (919) 474-9537

                                                   Attorneys for Plaintiffs
                                              24



     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 29 of 31
                           WORD COUNT CERTIFICATION

Pursuant to Local Rule 7.3(d), undersigned counsel hereby certifies that the foregoing brief

contains 6,249 words and complies with Local Rule 7.3(d) and its word count limit of 6,250

words. As provided in LR 7.3(d), the word count calculated using MS Word’s automatic

word count function and includes the body of the brief, headings and footnotes, but does

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        This is the 14th day of April, 2022.


                                                    /s/ Danielle Barbour Wilson
                                                    Danielle Barbour Wilson
                                                    NC State Bar No. 39516
                                                    dwilson@bankslawfirm.com
                                                    Jesse H. Rigsby, IV
                                                    NC State Bar No. 35538
                                                    jrigsby@bankslawfirm.com
                                                    The Banks Law Firm, P.A.
                                                    P.O. Box 14350
                                                    Research Triangle Park, NC 27709
                                                    Phone: (919) 474-9137
                                                    Fax: (919) 474-9537

                                                    Attorneys for Plaintiffs




                                               25



     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 30 of 31
                             CERTIFICATE OF SERVICE


         This is to certify that the undersigned has this day filed a true and accurate copy
of the foregoing document with the Court using the CM/ECF system, and thereby certify
that this document has been electronically served to the following person(s):

                                    Philip S. McCune
                                     Diana S. Breaux
                               Summit Law Group, PLLC
                             315 Fifth Avenue S., Suite 1000
                                Seattle, WA 98104-2682
                             Email: philm@summitlaw.com
                             Email: dianab@summitlaw.com

                                 Christopher T. Graebe
                                Morningstar Law Group
                            421 Fayetteville Street, Suite 530
                                  Raleigh, NC 27601
                             Email: cgraebe@mstarlaw.com

                                 Attorneys for Defendant

        This is the 14th day of April, 2022.

                                                    /s/ Danielle Barbour Wilson
                                                    Danielle Barbour Wilson
                                                    NC State Bar No. 39516
                                                    dwilson@bankslawfirm.com
                                                    Jesse H. Rigsby, IV
                                                    NC State Bar No. 35538
                                                    jrigsby@bankslawfirm.com
                                                    The Banks Law Firm, P.A.
                                                    P.O. Box 14350
                                                    Research Triangle Park, NC 27709
                                                    Phone: (919) 474-9137
                                                    Fax: (919) 474-9537

                                                    Attorneys for Plaintiffs


                                               26



     Case 1:22-cv-00055-CCE-JEP Document 16 Filed 04/14/22 Page 31 of 31
